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Exhibit 48
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Report of Gary J. Brenner, M.D., Ph.D.

IN RE NEURONTIN

I. Background

My name is Gary J. Brenner. I am presently an attending physician on the staff of the
Massachusetts General Hospital (MGH) Department of Anesthesia and Critical Care
where J am the Program Director of the MGH Pain Medicine Fellowship. I also have an
appointment at Harvard Medical School as an Assistant Professor, My responsibilities
include clinical care, research, and teaching.

I have been asked to prepare a report focusing primarily on the efficacy and clinical
utility of gabapentin for the treatment of persistent, pathological pain. In addition, I have
been asked to render opinions on a variety of other issues included in the report below. I
will start by providing an overview of my professional background and experience; also
defined in my curriculum vitae (my C.V. is contained within the appendix to this
document).

Training: In 1995 I was awarded both a medical (M.D.) and a doctoral (Ph.D.) degree
from the University of Rochester School of Medicine and Dentistry. My doctoral work
focused on mechanisms through which chronic stress can alter function of the immune
system. I sought and obtained funding from both the Howard Hughes Medical Institute
(Medical Student Research Award) and the National Institutes of Health (Individual
M.D./Ph.D. National Service Research Award) to support this training in medicine and
science, My Ph.D. work resulted in several publications in peer-review journals,

After graduate training, I entered residency. My intent was to obtain the training
necessary to pursue a career in academic medicine focused on the understanding and
treatment of pain. I completed a one-year internship in Internal Medicine in Rochester,
NY followed by a residency in Anesthesiology at the Massachusetts General Hospital,
Boston, MA. Finally I completed a fellowship in Pain Medicine, also at Massachusetts
General Hospital. Following training I obtained board certification both in
Anesthesiology and in Pain Medicine, and continue to be boarded in both medical
specialties,

Experience since joining the staff of Massachusetts General Hospital: Immediately
following completion of Pain Medicine training in 2000, I joined the staff of the
Department of Anesthesia and Critical Care, Massachusetts General Hospital, I am
presently an Assistant Professor of Anesthesia (Harvard Medical School) and my major
activities involve patient care, medical education, and basic science research; the focus in
each area is the understanding and treatment of pain.
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Since joining the staff at MGH I have been treating patients with a variety of pain
problems grossly grouped into chronic pain, cancer pain, and acute pain. I see patients
both in the MGH Center for Pain Medicine outpatient clinic and as hospitalized inpatients
at MGH. A variety of approaches are used to care for these pain patients including
pharmacological management, interventional treatments, psychological counseling,
occupational/physical therapy, etc.

Faculty positions at academic hospitals by their nature involve teaching. My major
teaching involves medical residents (predominantly from the MGH department of
anesthesiology and critical care) and fellows (predominantly those enrolled in the MGH
Pain Medicine fellowship which I administer as Director). I also teach medical students
from a variety of medical schools and lecture at Harvard Medical School. Since 2002 1
have been the Director of the MGH Pain Medicine Fellowship. This is an ACGME-
accredited program that trains 6 fellows per year. I also lecture both nationally and
internationally on topics related to pain. Finally, I prepare questions for the national
board examination in Pain Medicine.

I have conducted basic science research focused on the mechanisms of pain since my
residency at MGH. This research has been funded by two awards from the National
Institutes of Health, has been conducted in the laboratory of a truly world-renowned pain
researcher (Clifford Woolf, M.D., Ph.D.), and has resulted in a variety of publications
including peer-review articles in medical journals and chapters in medical texts.

The above activities have provided me with the experience necessary to develop broad
expertise in the understanding and treatment of pain. My opinions presented in this
report will be based on the following:

Review of the medical literature.

Consensus guidelines.

Opinions of other experts, including my immediate colleagues.

My own experience — clinical, scientific, and educational. The latter includes
lectures I have given, my own continuing medical education, and learning
from the colleagues with whom I’ve interacted through my academic work.

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A list of the materials that I have reviewed in preparing this report is contained within the
appendix to this report.

II. Efficacy of gabapentin for the treatment of persistent pain

There is a large body of medical evidence, derived from both animal and human studies,
supporting the efficacy of gabapentin in the control of pain. The majority of the animal
studies have investigated the underlying mechanism(s) of gabapentin’s analgesic efficacy
while the human studies have generally addressed the question of efficacy. The majority
of human studies have focused on either neuropathic pain or peri-operative pain.
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Types of pain: Some basic understanding of the types of pain is essential to approaching
the question of efficacy of any analgesic. Current thinking categorizes pain into three
major types [1,2]. They are:

1. Nociceptive pain;
2. Inflammatory pain; and
3. Neuropathic pain.

Nociceptive pain is the pain associated with a noxious stimulus; once the stimulus is
resolved, the pain also dissipates. Examples of this type of pain are that associated with
stubbing one’s toe or getting too close to a source of high heat (such as a lit stovetop
burner). Pain associated with dental procedures is commonly used as a model for testing
the efficacy of drugs in controlling nociceptive pain.

Both inflammatory and neuropathic pain involve changes in the nervous system leading
to pain hypersensitivity and spontaneous pain. Pain hypersensitivity comes in two
forms. The first is allodynia, which is pain to stimuli — such as the light rubbing of a bed
sheet — that would not normally cause pain. The second is hyperalgesia, which is an
augmented response to stimuli that are normally painful. An example of this would be
the pain associated with splashing hot water on an area of sun-burned skin. The water,
which would be painful on normal skin, becomes much more painful on the burned skin.
These are both forms of evoked pain, that is, pain caused by stimuli. With both
inflammatory and neuropathic pain, clinically one also often finds spontaneous pain.
This is pain that occurs in the absence of any stimulation. For example, an individual
with sciatica will often experience shooting pain even while at rest, sitting quietly.

Inflammatory pain, as the name suggests, is associated with inflammation. This may be
the result of an injury, since all healing necessarily activates inflammatory cascades, or
may be due to a disease with an inflammatory component such as arthritis. N europathic
pain is caused by damage to the nervous system, Some examples of neuropathic pain
used for the study of medications in controlling this type of pain include post-herpetic
neuralgia (PHN), painful diabetic peripheral neuralgia, and sciatica. One distinction
between inflammatory pain and neuropathic pain is that with the former the augmentation
of pain (hypersensitivity and spontaneous pain) will resolve, if the inflammation resolves.
With neuropathic pain, however, the alteration in the nervous system and the associated
augmented pain is, more often than not, permanent.

For a more complete discussion of types of pain and the mechanisms underlying each of
these pain-types, please refer to the references cited at the beginning of this section

Efficacy of gabapentin in the control of neuropathic pain: There are a large number
of studies addressing and supporting the utility of gabapentin in the control of a variety of
types of neuropathic pain. In 2002, gabapentin was approved by the FDA for the
treatment of pain due to PHN. As noted earlier, PHN is frequently used to typify
neuropathic pain. The studies of gabapentin have also addressed neuropathic pain of
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many causes other than PHN; in 2000 gabapentin gained a license in the United Kingdom
for the treatment of neuropathic pain generally [3]. In fact, gabapentin is approved for
the treatment of neuropathic pain in more than 50 countries, including France, Germany,
and Italy [4].

Due to the large number of studies of gabapentin and neuropathic pain, it would be
extremely cumbersome to address the primary medical literature in its entirety. A
common practice among clinicians is to rely on individuals or groups of individuals to
analyze the literature as a whole, performing what is known as a meta-analysis. One of
the most respected groups performing this type of analysis is the Cochrane Collaboration.
In 2005 The Cochrane Collaboration published a report titled: “Gabapentin for acute and
chronic pain (Review)” [5]. The overall conclusion was that “there is evidence to show
that gabapentin is effective in neuropathic pain.” This is significant as the report relies
wholly on randomized clinical trials — universally considered the most reliable source of
medical evidence.

In addition to the Cochrane review cited above, other meta-analyses have supported the
efficacy of gabapentin for the control of neuropathic pain [6]; these meta-analyses are
reflections of the collected data from the medical literature. Another important source of
information to guide clinicians is consensus statements from respected medical
organizations or groups of individuals. Two such statements on the treatment of
neuropathic pain, one from a group of physicians predominantly from the United States
[7] and one from the Canada Pain Society [8] have suggested that gabapentin be utilized
as a “first line” agent for the treatment of neuropathic pain. These consensus
recommendations come from review of the medical literature by individuals with
expertise in pain treatment, many of whom are also considered thought-leaders in the
field of pain medicine, and reflect the expertise and clinical experience of the group.

One question relates to the magnitude of gabapentin’s efficacy for the treatment of pain.
Stated differently, how well does gabapentin work for the control of neuropathic pain?
One important metric of efficacy frequently utilized is “number needed to treat (NNT).”
This refers to the number of individuals who would have to be treated with a given drug
to achieve some particular desired effect. In the case of gabapentin and neuropathic pain,
one might ask “how many patients would need to be treated with gabapentin to find one
individual who experiences a 50% reduction in their pain”? In the meta-analysis
published by the Cochrane Collaboration the NNT for gabapentin and neuropathic pain
was in the range of 3 to 4 [5]; this represents good efficacy relative to other treatment
options for neuropathic pain. Of note, the same meta-analysis found that in studies of
gabapentin and neuropathic pain, there was no difference between those receiving
gabapentin and those receiving placebo in the proportion of individuals who left the study
due to adverse effects. This is a strong indication that gabapentin is generally well
tolerated in this population of patients.

Efficacy of gabapentin in the control of peri-operative pain: This is another area of
investigation in which a substantial number of studies have been published. Peri-
operative pain represents a combination of nociceptive and inflammatory pain resulting
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from the fact that there is both tissue injury (the operation) and a subsequent response to
the injury (healing), which includes inflammation. Thus, these studies assess the ability
of gabapentin to help control pain due to multiple underlying mechanisms. Meta-analysis
[9,10] and reviews [11,12] of the medical literature have found evidence for the efficacy
of gabapentin in decreasing peri-operative pain. Studies of the efficacy of gabapentin for
the control of peri-operative pain do not allow good separation of which type(s) of pain,
nociceptive and/or inflammatory, gabapentin is affecting.

In summary, there is substantial evidence supporting the efficacy of gabapentin for the
treatment of both neuropathic pain and peri-operative pain. This is not to suggest that all
studies have shown efficacy; there are a variety of reasons why a particular study might
fail to elucidate efficacy of a drug.

If. My clinical experience and perspective as a physician trained in pain
medicine

My use of gabapentin in the treatment of pain: As a clinician with specific expertise
in the treatment of pain (i.e., board certification in Pain Medicine), I am very cognizant of
the limitations in the tools available for the treatment of my patients with pain. This
limitation in our “tool-box” is due in part to an incomplete understanding of the
physiology and pathophysiology of pain. Virtually all of the medications used to treat
pain are either analgesics passed down from antiquity (¢.g., opioids and their derivatives)
or drugs that were developed for some other therapeutic purpose and then serendipitously
found to help with pain. The anticonvulsants, a class of drugs commonly used to treat
chronic pain, are an important example of the latter group. Carbamazepine (Tegretol)
was discovered to be an effective treatment for tri geminal neuralgia ~ a form of
neuropathic pain [13]. Gabapentin, one of the newer and safer anticonvulsants, has also
been found to have efficacy in the treatment of pain.

T regularly utilize gabapentin in the treatment of patients with neuropathic pain, and with
other more ambiguous forms of chronic pain; many of my patients have been helped by
the medication. In this regard, I use gabapentin both for its FDA-indicated use (pain
associated with post-herpetic neuralgia) and off-label (1.e., for neuropathic and chronic
pain of a variety of other etiologies). Further, to the best of my knowledge, all of my
colleagues similarly use gabapentin to treat patients with pain, both on- and off-label.

Gabapentin safety, tolerability and adverse-effects: I have treated a substantial
number of chronic pain patients with gabapentin. Although I have had patients
discontinue use of the medication due to side-effects — typically sedation ~ in the majority
of treated individuals the medication is well-tolerated, Of note, there is a subset of
patients treated with gabapentin in my practice who continue to take gabapentin despite
the side-effects that they experience. To be explicit, these patients who do not withdraw
from gabapentin therapy believe, as do I in such situations, that any detrimental effects
are outweighed by benefit.
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I believe gabapentin to be a safe and efficacious medication for the treatment of
neuropathic pain; its safety and efficacy are even more apparent when viewed in light of
some of the major alternatives for the treatment of this form of persistent pain.
Gabapentin’s safety is related to a variety of factors including but not necessarily limited
to:

1. There is minimal metabolism of gabapentin; thus changes in liver function
will not have a significant effect on the elimination of the drug from the body
(one minor exception is a rare situation in which end-stage liver disease leads
to significant impairment of renal function).

2. There are relatively few drug-drug interactions between gabapentin and other
medications. This is in part due to the minimal hepatic metabolism of the
medication by P450 enzyme systems.

3. In the absence of severely impaired kidney function, it is exceptionally
unlikely (i.e., there are no reported cases to the best of my knowledge) that
one could experience a fatal “overdose” of gabapentin, whether intentional or
unintentional.

4. There is very limited abuse potential for gabapentin and virtually no risk of
addiction (gabapentin is not classified as a controlled substance under the
Controlled Substances Act). This is in marked contrast to opioid analgesics,

5. The majority of side-effects of gabapentin are relatively mild. The more
serious side-effects (such as Stevens-Johnson syndrome) are very uncommon.
This is in contrast to some of the alternative medications used for the
treatment of chronic pain for which potential serious complications are
substantially more common.

6. The safety profile of gabapentin is substantially better than that of many of the
alternatives used in the treatment of chronic pain, including some of the other
anticonvulsants, tricyclic antidepressants, and opioids (methadone, in
particular).

Off-label use of medications for the treatment of pain: The lawful ability of
physicians to use medications off-label is critical for the optimal care of patients. This is
particularly true in the realm of pain management due to the fact that the therapeutic tools
are relatively limited and some of the most important pharmacologic options have
significant limitations (e.g., tricyclic antidepressants and opioids). When presented with
a patient suffering with pain, acute and/or chronic, it is not acceptable to tell them that
because there are no perfect options for the treatment of their pain, no treatment will be
undertaken, In many patients with pain the underlying etiology and mechanism(s) of the
pain is obscure. In such situations it would be similarly cruel and absurd to tell a patient
that we (the patient’s treating physician) will not even attempt to treat their pain since it
may be difficult to predict which therapeutic strategy will provide good relief.

There are guidelines, for example those issued by insurers, that require a trial of
gabapentin prior to allowing reimbursement for another more expensive agent, for
example pregabalin. Of interest, this includes indications that are off-label for gabapentin
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but labeled for the alternative agent. Two such examples are MassHealth’s requirement
of a failed trial of gabapentin prior to authorization for pregabalin for treatment of (1)
painful diabetic neuropathy or (2) fibromyalgia [14]. For both of these chronic pain
conditions, pregabalin carries an FDA indication while gabapentin does not.

Medical decision-making in treating patients with chronic pain: The decision to start
or continue a medication for pain treatment (or any medical therapy for that matter) is
based on a variety of factors. These include, but are not necessarily limited to:

The nature of a patient’s pain complaint, including their pain-treatment history;
The patient’s medical co-morbidities;

The patient’s current medications;

The likelihood that a patient will use a medication as prescribed (i.e.,
compliance), particularly for medications that have significant risks associated
with use other than as prescribed (e.g., the TCA’s) or have a significant potential
for diversion and abuse (e.g., the opioids); and

5. Other patient factors such as social history including any history of addiction,
financial status, work-related issues, etc.

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All of the above factors are considered in light of the balance between the likely
effectiveness and the potential adverse effects of a medication. It should also be
mentioned that it is impossible to predict which single medication, or combination of
medications, will have efficacy for an individual patient. This is particularly true of
chronic pain management — an area of medicine in which the options are relatively
limited. Thus, it is often necessary to ‘trial’ multiple medications before an efficacious
regimen of medications with an acceptable risk-benefit profile is found. The fact that
more than one medication is regularly required to optimally treat a patient’s pain adds to
the complexity of treating this patient population.

Comment on Class and Coordinated Plaintiffs’ responses to defendants’
interrogatory number 2 related to allegedly cheaper and more optimal alternatives
to gabapentin: J have been asked to comment on Class and Coordinated Plaintiffs’
responses to interrogatory no. 2 as related to neuropathic pain. I will start by separately
listing the agents presented by Class and Coordinated Plaintiffs as supposedly cheaper
and more optimal for the treatment of neuropathic pain.

1. Coordinated plaintiffs: Kaiser Foundation Healthplan, Inc, Guardian Life Insurance,
and Aetna, Inc.

These plaintiffs refer to and apparently adopt the positions of Mirta Millares as put forth
in her declarations of 11/06/2008 and 12/05/2008. Ms. Millares holds a PharmD degree
and is employed by Kaiser Foundation Health Plan, Inc as manager for drug information
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services and pharmacy outcomes research. In the declarations she opines that there are a
variety of medications available for the treatment of bipolar disorder, migraine, and
neuropathic pain that are cheaper and more optimal than gabapentin. The medications
listed related to the treatment of neuropathic pain can be separated into two groups:

a. Tricyclic antidepressants-
amitriptyline hydrochloride
desipramine hydrochloride
nortriptyline hydrochloride

b. Capsaicin

Ms. Millares also has opined in one of her declarations (1 1/06/2008) regarding non-
prescription medications that are purportedly cheaper and more optimal than gabapentin
for the treatment of neuropathic pain. In this group she includes:

a. Aspirin
b. Naproxyn

2. Class Plaintiffs: ASEA, Louisiana Health Service Indemnity Company, and Harden
Manufacturing Corporation

Similar to the Millares declarations referred to above, the Class Plaintiffs present a list of
agents, both prescription and non-prescription, that they contend are cheaper and more
efficacious for the treatment of neuropathic pain, nociceptive pain, bipolar and other
mood disorders, and headache (see exhibit A of ASEA’s responses to the interrogatories),
I have simplified the list related to neuropathic pain by grouping the medications by
class. They are not presented in any particular order; in a few cases I have listed common
trade names to aid with identification of the medications.

a. Tricyclic antidepressants (TCA): amitriptyline, desipramine, nortriptyline

b. Anti-epileptic agents (AED): carbamazepine (Tegretol)

¢. Serotonin-norepinephrine re-uptake inhibitors (SNRI): duloxetine
(Cymbalta)

d. Non-steroidal anti-inflammatory drugs (NSAID): aspirin*, diclofenac*,
ibuprofen*, naproxen*, celecoxib (Celebrex)

e. Opioids: anileridine** (Leritine - Canada), codeine, fentanyl
(transcutaneous), hydrocodone, hydromorphone IR and SR, levorphanol,
meperidine, methadone, morphine IR and SR, oxycodone IR and SR,
oxymorphone, propox yphene

f. Opioid agonist-antagonists: butorphanol tartrate, pentazocine (Talwin)

g. Combination agents that include an opioid:

i, codeine with acetaminophen, aspirin, or methocarbamol
ii. hydrocodone with acetaminophen, or aspirin
lil. oxycodone with acetaminophen or aspirin
h. Topical agents: capsaicin*, Lidoderm
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i. Acetaminophen*
j. Tramadol — mixed mechanism of action including mu-agonism (opioid)
and norepinephrine re-uptake inhibition

* medications available over-the-counter in non-prescription formulations
** anileridine is not available in the United States

There is little reasoning presented to support either list of agents; moreover, the
significant disparity between the two lists is highly suggestive that the generation of these
lists was not based on any rational criteria or evaluation of the medical evidence,

There are a variety of problems with the plaintiffs’ contentions; I will detail these below.

1. Regarding the non-steroidal anti-inflammatory drugs (NSAID’s) and
acetaminophen, there is no meaningful evidence supporting them as Jirst-line
agents for the treatment of neuropathic pain, and therefore, there is no basis upon
which to suggest that they are more optimal than gabapentin, At best, they may
have very limited utility as adjunctive agents in the treatment of neuropathic pain,
though there is little evidence to support even this use.

2, There is evidence for the efficacy of tramadol in the treatment of neuropathic pain
[15]. However, I know of no studies directly comparing tramadol with gabapentin
for the treatment of neuropathic pain, nor do I know of other substantive evidence
that tramadol is globally more optimal than gabapentin for the treatment of
neuropathic pain. Due to the norepinephrine re-uptake inhibition (a primary
mechanism of action of tramadol), its concomitant use with TCAs or SNRIs js
problematic due to the potential to cause serotonin syndrome. This is an issue given
that multiple concurrent medications (e.g., “polypharmacy”) are often required to
treat neuropathic pain. Gabapentin does not suffer from this limitation,

3. Regarding the opioids and other medications whose mechanism of action includes
an opioid-effect (i.e., mu agonism), there are substantial issues related to their use
for the management of chronic non-malignant pain [16]. These potential problems
include significant adverse effects, the development of tolerance, the potential for
addiction, the potential for diversion and other forms of misuse of the medication,
and potential long-term toxicities of opioids such as alterations in hormonal,
neuronal and immune function. Further, there is a body of evidence suggesting that
treatment of persistent pain with opioids can intensify the pain [17]. Although there
is evidence for efficacy, the use of opioids for the treatment of neuropathic pain is
controversial [18] and as a class they should not be considered more optimal than
gabapentin. Notably, in two recent consensus statements focused on the
pharmacological management of neuropathic pain gabapentin is presented as a first
line treatment for neuropathic pain while opioids are considered either a second- [7]
or third-line [8] therapy.
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4. The topical agents, capsaicin and Lidoderm, while having some utility in the
treatment of neuropathic pain, have limitations associated with both mechanism of
action (causing them to have efficacy for only a subset of patients with neuropathic
pain), and with regard to route of exposure (the area of exposure cannot be
extensive). Thus, only a subset of patients will benefit from these medications and
it is misleading to imply that in any general sense they are ‘more optimal’ than
gabapentin for the treatment of neuropathic pain, Further, they are rarely if ever
effective as a sole-agent for the treatment of neuropathic pain.

5. While tricyclic antidepressants have established efficacy in the treatment of
neuropathic pain, their use is associated with significant side-effects and they carry
a relative or an absolute contraindication to use in a significant population of
individuals (see below). This limits their global utility in the treatment of
neuropathic pain.

6. In the class of anti-epileptic drugs, gabapentin is among the safest agents,
Carbamazepine, which is cited by plaintiffs as being more optimal than gabapentin,
is associated with potentially life-threatening adverse effects (including aplastic
anemia, agranulocytosis, and toxic epidermal necrolysis). Furthermore, during
treatment carbamazepine blood levels must be monitored as toxicity (causing
cardiac, respiratory, and neurological effects) can develop, Finally, I know of no
substantive evidence that carbamazepine is more efficacious than gabapentin in the
treatment of neuropathic pain. Given these factors, it is doubtful that
carbamazepine can be considered more optimal than gabapentin.

There is also an inherent issue with the plaintiffs’ claims regarding cheaper and more
optimal medications for the treatment of neuropathic pain. As far as I can ascertain, the
Coordinated and Class Plaintiffs contend that either (1) for any patient with neuropathic
pain at least one of the medications in each of their respective lists is more optimal (that
is has a preferable risk-benefit profile) than gabapentin, or (2) for any given patient with
neuropathic pain each medication on their respective lists is cheaper and more optimal
than gabapentin. No rational basis is presented in support of either of these contentions.

The Coordinated Plaintiffs’ list of agents contended to be cheaper and more optimal
than gabapentin for the treatment of neuropathic pain is particularly problematic; it is
difficult to understand how the rather limited group of medications, alone or in
combination, could be more optimal than gabapentin for a// patients with neuropathic
pain. As shown above, the medications that they identify as more optimal for
neuropathic pain consist of three tricyclic antidepressants (TCAs), one topical agent
(capsaicin), and two non-steroidal anti-inflammatory drugs (NSAIDs). As discussed
elsewhere in this document, the utility of the TCAs is limited by their side effects (they
are generally considered less well tolerated than gabapentin). In addition there is a
significant group of patients for whom their use will be either relatively or absolutely
contra-indicated due to patient age, medical co-morbidities (such as certain types of
cardiac disease), or concomitant use of other medications that could interact with a TCA.

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The utility of capsaicin for the treatment of neuropathic pain is limited to an even smaller
group of patients with neuropathic pain. Estimates of efficacy are generally low and its
use is associated with a significant rate of side-effects. In addition, the utility of
capsaicin is probably limited to those neuropathic pain conditions that have a significant
component of pain due to injury to the peripheral somatic nervous system with pain
hypersensitivity of the skin (such as the painful peripheral neuropathies) — many forms of
neuropathic pain do not include this mechanism or manifestation, I have not seen any
discussion of neuropathic pain that recommends capsaicin as a first-line treatment or use
as a sole-agent. Finally, as mentioned previously there is at most a very limited role for
NSAIDs in the treatment of neuropathic pain.

Although the Class Plaintiffs’ list is longer than the Coordinated Plaintiffs’, many of the
criticisms discussed above are applicable to the Class Plaintiffs’ contention that the
listed drugs are cheaper and more optimal than gabapentin for the treatment of
neuropathic pain.

As discussed previously in this report, there is substantial data supporting the efficacy of
gabapentin in the treatment of neuropathic pain, and multiple experts (including in
consensus statements) include gabapentin as a first-line agent for the treatment of
neuropathic pain. Thus, for the population of individual patients suffering with
neuropathic pain it would be expected that a significant proportion rely on gabapentin as
an important therapeutic option either individually or in combination with other
medications and/or therapeutic strategies.

IV. Response to report of Thomas L. Perry

I have reviewed the report of Dr. Thomas Perry and have concluded that it reflects
several fundamental misunderstandings about pain. Additionally, although his report
concedes that the medical evidence supports the efficacy of gabapentin for the treatment
of neuropathic pain, I reject its conclusion that despite these data gabapentin has no
clinical utility for treating neuropathic pain (“Neurontin is not an effective drug for the
treatment of neuropathic pain.” — Perry page 1).

Efficacy of gabapentin: Even Dr. Perry’s analysis of the medical evidence supports the
conclusion that gabapentin has efficacy in the treatment of neuropathic pain. In his own
analysis of the “published and unpublished studies of gabapentin for chronic pain” Dr.
Perry concludes that the NNT (“number needed to treat”) for a> 50% reduction in pain is
8, and NNT for “moderate or much improvement” is 6 (see Perry page 35), thus
supporting the contention found in most of the medical literature that gabapentin has
efficacy for the treatment of neuropathic pain. Despite these data, Dr. Perry also writes
that a > 50% reduction in pain “has no known meaning in real life” (Perry page 35). I
disagree; although such measures of pain reduction cannot necessarily be extrapolated to
improved function, it is my opinion that this degree of pain relief is very meaningful to
the patients who experience it.

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Dr. Perry’s blurring of the distinction between different types of pain (e.g.,
nociceptive, inflammatory, neuropathic): It is incorrect, as suggested in Dr. Perry’s
report, to contend that the distinction between acute nociceptive pain, chronic
neuropathic pain, and end-of-life pain (as can be associated with terminal cancer) is

' “arbitrary.” In the report he writes:

The distinction between “somatic” or “visceral” versus “neuropathic” pain is
rather arbitrary, since all pain is ultimately experienced by or through neurons in
the brain. (Perry, page 14.)

This reflects an essential misunderstanding of the current knowledge (clinical and basic-
science derived) of pain. It has been appreciated for quite some time that different types
of pain utilize different anatomic pathways and underlying mechanisms, and that only
through the best possible understanding of the physiology and pathophysiology of the
various types of pain can therapies be applied in a rational manner. Dr. Perry’s statement
further demonstrates confusion about core concepts related to the pain system — while
one can distinguish between the somatic (referring to the skin) and visceral (referring to
the viscera - the internal organs) sensory systems, it makes no sense to compare “somatic
or visceral” pain to “neuropathic.” Somatic and visceral do not refer to types of pain as
does neuropathic; the idiom “comparing apples to oranges” can be applied appropriately
here. In fact, it is possible to have neuropathic pain of either the somatic or visceral
sensory systems. It is necessary to understand the core principles of the pain system in
order to opine on the pharmacological manipulation of the system.

Alternatives to gabapentin for the treatment of neuropathic pain as presented in Dr.
Perry’s report: As discussed above, the alternatives to gabapentin for the treatment of
neuropathic pain discussed in Dr. Perry’s report — e.g., opioids and tricyclic
antidepressants (TCAs) ~ each have important limitations associated with their use.
Although TCAs are reasonable first line agents for the treatment of neuropathic pain, the
side effects and contraindications (relative and absolute) associated with their use limits
the individuals who can benefit from this drug class. The use of opioids for the treatment
of neuropathic pain is controversial for reasons discussed elsewhere in this report.

Tricyclic antidepressants and gabapentin: As discussed previously in this report, the
tricyclic antidepressants have proven efficacy for the treatment of neuropathic pain;
however, they have side-effects and potential toxicity (largely cardiovascular) that limits
their utility in a variety of patient populations. Because there have been relatively few
studies that have directly compared gabapentin with a TCA, it is impossible to conclude
that the TCAs are globally more optimal than gabapentin for the treatment of neuropathic
pain. The few studies of neuropathic pain that have addressed this question, for example
in diabetic peripheral neuropathy [19] and in spinal cord injury [20], have failed to
demonstrate a difference in efficacy between gabapentin and a TCA. In a randomized
trial of treatment of pain due to post-herpetic neuralgia, gabapentin was found to be
equally efficacious and better tolerated than nortriptyline [21]. In an open-label study
that compared gabapentin to amitriptyline for the treatment of painful diabetic peripheral

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neuropathy, the results indicated that gabapentin was more effective and better tolerated
than amitriptyline [22]. Thus, we are left with data supporting the efficacy of both
gabapentin and TCAs in the treatment of neuropathic pain. Both have utility and can be
considered ‘first line’ drugs for the treatment of neuropathic pain, and in fact, are often
used in combination.

A salient point related to this discussion is that therapeutic regimens must be tailored to
each individual patient, and it is impossible to know a priori which drug or combination
of drugs will be most efficacious for a particular person. Both gabapentin and the TCAs
— alone or in combination ~ are important for the treatment of patients with neuropathic
pain,

Opioids and gabapentin: Dr. Perry states on page 20 of his report that “the most
appropriate comparator drug class for clinical trials in si gnificant pain is almost certainly
the opioid class.” He notes the “remarkable efficacy [of opioids] for moderate to severe
pain” and their “safety” (Perry, page 20). Dr. Perry downplays the potential adverse
effects of opioids both to individual patients and to society. On page 18 he writes:

Fortunately for Americans, the attitudes of the medical establishment and the U.S.
Government have mellowed from the era of near paranoia over the potential for
drug dependency, diversion of opioids to non-medical uses, or “addiction.”

As discussed previously, the use of opioids for the treatment of chronic non-malignant
pain is controversial for a variety of reasons. There are concerns regarding:

1. diminishing efficacy due to tolerance and even exacerbation of pain due to
opioid-induced hyperalgesia with long-term use:

2. potential toxicities with long-term use such as those to the immune, endocrine,
and nervous systems; and

3. cost to individuals and society associated with misuse.

So while there is evidence from relatively short-term studies for the efficacy of opioids
for the treatment of neuropathic pain [18,23] and the opioids do have some role in the
treatment of at least some forms of neuropathic pain (such as post-herpetic neuralgia), the
abuse of (including diversion) and addiction to opioids is a tremendous problem in the
United States [24-28] and must be factored into decisions regarding their use. For this
and other stated reasons, the current evidence does not support the contention that the
opioids are the most appropriate comparator for the evaluation of the efficacy of
gabapentin in the treatment of neuropathic pain as contended by Dr. Perry.

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Vv. Conclusions

Gabapentin has established efficacy for use in patients with a variety of pain complaints
as discussed above. In my clinical experience gabapentin is generally well-tolerated, and
this is supported by the medical literature. The utility of gabapentin for the treatment of
pain must be viewed in light of the relatively limited alternatives. In the relatively
limited armamentarium available for the management of neuropathic pain gabapentin is
an essential therapeutic option.

I reserve the right to amend and/or supplement these opinions on the basis of additional,
new or changed information, including that related to expert opinions.

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Date: 15 December 2008

 

   

Gary J. Byénner, M.D.,

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Appendix

VI. Materials reviewed (pages 17 — 22)

1. Expert reports for the plaintiff

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Sander Greenland declarations
1, 03/11/08 (Exhibit 82)

ii. 10/19/07

i. 05.02.08 (Exhibit 14)

iv. 7/25/08 (supplemental report)
Cheryl D. Blume, Ph.D.
Keith Altman (04/04/2008)
Marc Levine, Ph.D. (original report of 10/24/05 & supplement 03/30/08)
Kent Vrana, Ph.D. (3/31/08)
Nicolas P. Jewell, Ph.D. (07/29/08)
Ronald Wm. Maris, Ph.D. (08/07/08)
Stefan P Kruszewski, M.D. (08/07/08)
Kay Dickerson, MA (08/10/08)
Thomas L. Perry, M.D. (08/10/08)
John Abramson, M.D. (8/11/80)

2. Expert reports for the defense

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Rollin Gallagher, M.D., M.P.H. (05/14/08)

Shawn J. Bird, M.D. (05/09/08)

Douglas Jacobs, M.D. (11/03/08)

Robert D. Gibbons, Ph.D. (supplemental - 11/05/08).
Janet Arrowsmith-Lowe, M.D. (11/07/08)

Sheila Weiss Smith, Ph.D. (supplemental - 11/07/08)
Alexander Ruggieri, M.D., M.H.S. (supplemental 11/08/08)
Charles Taylor, Ph.D. (11/08/08)

Anthony Rothschild, M.D. (11/10/08)

Edward Boyer, M.D., Ph.D. (11/10/08)

Gerard Sanacora, M.D., Ph.D. (supplemental)

3. Depositions

a,
b.
C.

Stefan P. Kruszewski, M.D. — 10/15/08
R. Maris, Ph.D. — 10/22/08 (Volume 5 only)
Douglas Jacobs (12/01/08)

4, FDA Statistical Review re Anti-epileptic drugs and suicidality (05/23/08)

5. FDA Labeling for gabapentin
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b. RR 720-04479
c. RR 720-04378
d. RR 720-04483
e. RR 720-04130
Manuscript draft

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VU. Gary J. Brenner curriculum vitae (pages 23 - 35)

I. General Information

CURRICULUM VITAE

Date Prepared: November 1, 2008

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Massachusetts General Hospital
55 Fruit street
Boston, MA 02114-2698

Home Address: 29 Blaisdell Road
Medford, MA 02155

E.mail: gjbrenner@partners.org

FAX: 617 724 3632

Place of Birth: Newark, New Jersey

Education:

August 1982 — May 1986
August 1987 — June 1995

Postdoctoral Training:
July 1995 — June 1996
Sept. 1996 — August 1999

Sept. 1999 ~ August 2000

Licensure and Certification:

1995 - 1996
1996 - 1999
1999 - current
2000 - current
2002 - current

Academic Appointments:

1996 - 2000

B.A, Wesleyan University, Middletown, CT
M.D.,Ph.D. University of Rochester, Rochester, NY

Intern Internal Medicine

Highland Hospital, Rochester, NY
Resident Anesthesia and Critical Care,

Massachusetts General Hospital, Boston, MA
Fellow Pain Medicine

Massachusetts General Hospital, Boston, MA

Limited New York Licensure

Limited Massachusetts Licensure

Full Massachusetts Licensure

Board Certification in Anesthesiology (ABA)
Board Certification in Pain Medicine (ABA)

Clinical Fellow Massachusetts General Hospital, Boston

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2000 ~ current

2000 — 2005

2005 — current

Assistant in Anesthesia Massachusetts General Hospital, Boston
Instructor in Anesthesia Harvard Medical School, Boston, MA

Assistant Professor

Hospital or Affiliated Institution Appointments:

1996 - 1999
1999 - 2000
2000 - current

Clinical Fellow, Anesthesia
Clinical Fellow, Pain Medicine
Assistant in Anesthesia

Hospital Service Responsibilities:

2000 - 2002
2001 - 2003

2004 - 2005
2000 - current
2002 - current

2004 - current
2006 - current
2007 - current
2008

Pain Center Scheduling
Physician Representative
for Clinical Support Staff
Opioid Safety Committee
Mock Oral Board Examiner
Program Director, MGH Pain
Medicine Fellowship
Residency Review Committee
Institutional Review Board
Executive Committee on Education
Clinical Service Leader (interim)
MGH Inpatient Pain Service

Committee Assignments:

National:
1997 - 1998

1998 - 1999
1999 - 2000
2000 - 2003
2000 - 2001
1997 - 2000

2000 - current
2007- current

Regional:
1997 - 1998
1998 - 1999

1997 - 2000

American Society of Anesthesiologist
American Society of Anesthesiologists
American Society of Anesthesiologists
American Society of Anesthesiologists
American Society of Anesthesiologists
American Medical Association
American Medical Association
National Association of Pain

Medicine Fellowship Directors
Mass. Society of Anesthesiologists

Mass. Society of Anesthesiologists

Massachusetts Medical Society

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Harvard Medical School, Boston, MA

Massachusetts General Hospital
Massachusetts General Hospital
Massachusetts General Hospital

MGH, Dept. Anesthesia Pain Center
MGH, Dept. Anesthesia Pain Center

MGH
MGH, Dept. of Anesthesia
MGH, Dept. of Anesthesia

MGH, Dept. of Anesthesia
Partners Healthcare

MGH

MGH, Dept. of Anesthesia

Resident Alternate-Delegate

to the AMA
Resident Delegate to the AMA
Committee on Communications
Committee on Performance

and Outcomes Measurement
Committee on Loca! Anesthesia

and Pain

Resident/Fellow Section Delegate
Young Physicians Sect. Delegate
Board of Directors, member

Chair-elect, Committee on
Resident Affairs

Chair, Committee on Resident
Affairs

Resident Governing Council
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1999 - 2000 Massachusetts Medical Society Compassionate Care Committee

2000 - 2008 Massachusetts Medical Society Young Physicians Gov. Council
(Chair, 2002-2004)

2004 - 2005 Howard Hughes Medical Institute Boston Alumni Committee
(Co-chair)

2006 — 2008 Dept. of Psychology, Suffolk Univ. Institutional Review Board

Professional Societies:

1997 - current American Society of Anesthesiologists Member
1997 - current Massachusetts Society of Anesthesiologists Member
1997 - 2007 American Medical Association Member
1997 - current Massachusetts Medical Society Member
2000 - current American Society of Regional Anesthesia Member
and Pain Medicine
2000 - 2004 New England Pain Association Member
2004 - current Society for Neuroscience Member
2004 - current American Pain Society Member

II. Research, Teaching, and Clinical Contributions
A, Narrative report

My academic activities are divided between neuroscience research related to peripheral sensory
systems, Clinical duties in the MGH Department of Anesthesia pain center, and teaching as related to
pain medicine. Although all three activities are of great importance to me personally, the bulk of my
effort is devoted to research and to responsibilities related to my position as Director of the MGH
Anesthesia Pain Medicine Fellowship.

Pain hypersensitivity in humans is a prominent complication of surgery and trauma, and is commonly
associated with inflammatory and neurological diseases. The hypersensitivity associated with chronic
pathological pain results from changes in both the peripheral (primary sensory) and central nervous
system neurons. The N-methyl-D-aspartate receptor (NMDA-R) has been shown to play an important
role in the sensitization of spinal cord dorsal horn neurons associated with pain hypersensitivity; this
increase in dorsal horn neuron excitability is known as “central sensitization,” My research focuses
on the contribution of changes in NMDA-R phosphorylation state and subcellular trafficking to the
development of central sensitization. A second focus is to address the intracellular transduction
pathways responsible for altered NMDA-R structure and function, This work is being conducted
under the mentorship of Clifford J. Woolf, M.D., Ph.D., an internationally renowned neuroscientist
who focuses on neruoplasticity as it relates to pain.

More recently, my research focus has included the role of immune mechanisms in the generation of
central sensitization, the role of Bone Morphogenic Protein (BMP) signaling pathways in the
peripheral nerve regeneration following injury, the use of AAV-mediated gene delivery in the
modulation of peripheral sensory systems, and the generation of a novel mouse-model of
neurofibromatosis. The focus of all these lines of investigation is the response of peripheral and
central sensory systems to injury and the associated mechanisms of pain generation.

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My primary clinical responsibility is in the MGH pain center. The MGH pain center utilizes a
multidisciplinary approach. Clinic patients present with a variety of chronic pain complaints, in
particular spine-related and peripheral neuropathic pain. Treatment modalities involve both medical
and interventional approaches. My clinical commitment is one day per week in the pain clinic. In
addition, | am responsible for caring for pain service inpatients six weekends per year as my call
requirement.

Most of my teaching is associated with pain center-related clinical activities. | supervise fellows and
residents in the clinic and on rounds. I present one journal club per month to trainees at the clinic and
am responsible for overseeing the pain center didactic program. In addition, J regularly present
research findings at departmental grand rounds, and have given spoken on pain medicine to medical
students at Tufts and HMS, and to Internal Medicine interns at MGH.

I have a long-standing interest in critical-event management and the use of medical simulators for
training. In conjunction with Daniel Raemer, Ph.D, at the Harvard Center for Medical Simulation |
have developed a course designed to train pain medicine fellows in the management of those critical
events that can occur as complications of clinic-based procedures. I have adapted and run this course
for MGH pain medicine attending physicians who are trained in areas other than anesthesia (the
anesthesia trained attending physicians participate in an anesthesia-focused simulator course),

B. Funding information —

Past research funding

1991 - 1995 NIMH PI National Research Service Award; Predoctoral
Individual M.D./Ph.D. Fellowship

1989 - 1990 HHMI Fellow Howard Hughes Medical Institute Medical
Student Research Training Fellowship

1998 HIH Fellow Medical student short-term research fellowship

2002—2007 NIH/NINDS _ PI NMDA Receptor Phosphorylation and

Trafficking after Pain (K08) — no cost extension
2007-2008 Dept of Defense Co-invest. Schwannomas in NF2 Mice: Nerve Injury and
Development of a Mouse Model
2007-2008 Children’s Tumor Foundation Evaluation of Erlotinib in a Novel Schwannoma

PI Model
Past educational funding

1986 - 1987 Wesleyan Univ. Fellow ‘Wesleyan University Fellowship for
Teaching and Study.’ Huazhong Univ.,
Wuhan, Peoples Republic of China.

C. Report of current research activities

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Project: Role of bone morphogenic protein (BMP) signaling pathways and the BMP co-receptor,
DRAGON, in peripheral nerve regeneration. Role: Research fellow under mentorship of Clifford J.
Woolf, M.D., Ph.D.

Project: Development of a novel murine mode! of schwannoma for testing of potential therapeutic
agents. Role: P.I. in collaboration with Miguel Esteves, Ph.D, (Dept. of Neurology)

D. Report of teaching
Local contributions
medical school teaching

11/2001. Tufts 2™ year medical student pharmacology course. Presented three pain-related clinical
cases during a 3-hour block to a group of medical and pharmacology doctoral students. Approx. 15
students. Preparation time approximately 2 hours.

02/2004. HST 350 - Harvard Medical School. Lectured for | hour on the topic of acute pain
management to 4" year medical students, Approx, 25 students. Preparation time approximately 12
hours.

09/09/2005, 09/07/2007, and 09/05/08. Harvard Medical Schoo! 2" year Neuroscience Block -
IN757.0c Human Nervous System and Behavior. | instructed tutors and presented a case to prepare
them for for pain-related case-based seminar with 2"“-year medical students, Approximately 25
participants. Preparation time approximately 5 hours.

08/08/2006, 10/27/2006, 08/03/2007, 08/13/08. Harvard Medical School OSCE examiner — back pain
station. Nine 4" year students examined per exam day.

09/10/09. Harvard Medical School 2™ year Neuroscience Block -IN757.0c Human Nervous System
and Behavior. Presented lecture on the pain system including mechanisms underlying physicological
and pathological pain (60 minutes) followed by a live patient presentation (30 minutes).
Approximately 200 participants. Preparation time approximately 12 hours.

graduate school teaching

9/2000 through present. Pain Center journal club. One per month presented to the 5 pain fellows and
2 rotating residents, Preparation time is approximately 2-3 hours per month. In addition, Iam
responsible for overseeing the pain center educational program in my role as fellowship director,

10/2001. MGH Department of Anesthesia and Critical Care departmental grand rounds. Presented a
20-minute talk to the department (approx. 200 individuals) detailing research conducted during a 6-
month research fellowship during residency. Preparation time approximately 12 hours.

11/2001. MGH Department of Anesthesia and Critical Care departmental grand rounds “10 minutes

of science.” Presented to the department discussing my current research (i.e., altered NMDA-receptor
phosphorylation after pain). Preparation time approximately 5-hours,

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9. 12/2001. MGH Department of Internal Medicine mid-day lecture series, One-hour presentation to
the interns (approximately 40 individuals) on the pathophysiology and clinical approach to low back
pain. Preparation time approximately 12 hours.

10. 2004 to present. Harvard Center for Medical Simulation. In conjunction with Daniel Raemer, Ph.D.,
I developed and ran a course for MGH Department of Anesthesia Pain Medicine Fellows and for Pain
Center Attendings from MGH, The Children’s Hospital, and Spaulding Rehabilitation Hospital. The
simulation was designed to provide training in the management of critical events that can occur as
complications of office-based pain procedures. Preparation time for each day-long (8 hour) course
was approximately 24 hours. Each course was administered to 4-6 individuals.

Harvard Center for Medical Simulation courses were conducted for pain medicine physicians on the
following dates:

01/23/04 — Pain Medicine Fellows

04/14/04 ~ Pain Medicine Attending Physicians

08/25/04 — Pain Medicine Fellows

11/18/04 — Pain Medicine Attending Physicians

09/08/05 — Pain Medicine Fellows

01/25/07 — Pain Medicine Fellows

03/30/07 — Pain Medicine Attending Physicians

04/11/08 ~ Pain Medicine Fellows

07/02/08 — Pain Medicine Attending Physicians

09/18/08 ~ Center for Pain Medicine ‘vertical session’ including Pain Medicine Fellows, Attendings,
and Nurses.

11, 2/2004. MGH Department of Anesthesia and Critical Care departmental grand rounds “10 minutes of
science.” Presentation to the department (approx. 200 individuals) discussing my current research.
Preparation time approximately 5 hours.

12. 09/01/2005. Presented a one-hour seminar on the use patient controlled analgesia (PCA) to a group of
palliative care fellows from Massachusetts General! Hospital, The Dana-Farber Cancer Institute, and
The Children’s Hospital ~ approximately 10 fellows present. Preparation time approximately 6 hours.

13, 10/03/2006. Presented a one-hour seminar on neuropathic pain at the MGH Department of Anesthesia
and Critical Care departmental CA2/CA3/faculty lecture series. Presentation to approximately 30
members of the department. Preparation time approximately 8 hours.

14, 10/25/2006. MGH Division of Palliative Care Medicine Grand Rounds. Presented a one-hour lecture
on the mechanisms of neuropathic pain. Presentation to approximately 60 individuals from a variety
of departments. Preparation time approximately 8 hours.

15. 04/24/2007. Presented a one-hour seminar on informed consent at the MGH Department of
Anesthesia and Critical Care departmental CA2/CA3/faculty lecture series. Presentation to
approximately 30 members of the department. Preparation time approximately 10 hours.

16, 03/11/2008. Presented a one-hour seminar on Taxonomy and Mechanisms of Pain at the MGH
Department of Anesthesia and Critical Care departmental CA2/CA3/faculty lecture series.
Presentation to approximately 35 members of the department. Preparation time approximately 6
hours.

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teaching leadership role

08/2002 to present: Program Director, MGH Pain Medicine Fellowship. I have been responsible for
the organization, oversight, and development of this ACGME-accredited training program. It is
Department of Anesthesia and Critical Care based.

During my tenure as director, the fellowship has been grown both in number of trainees and in the
scope of outside departments and institutions in which the fellows train. We currently train 6 fellows
per year (up from 4 when I started) and our fellows train with representatives of a variety of outside
departments (including neurosurgery, physiatry, and radiology) and at several outside institutions
(including Spaulding Rehabilitation Hospital and The Children’s Hospital, Boston). To integrate
activities of local basic scientists interested in pain with the teaching of our pain fellows, | developed
a year-long course for the Pain Medicine Fellows the focused on the fundamental neuroscience
underlying the practice of pain medicine.

mentored pain medicine trainees

trainee fellowship year post-fellowship position

Karla Hayes 2002-2003 Academic practice, MGH, MA.

Raj Mitra 2002-2003 Academic practice, Stanford, CA,
Director, Pain Medicine Program

Anca Popescu 2002-2003 Academic practice, Temple Univ, PA,

Karl-Heinz Spittler 2002-2003 Private practice, ME.

William Tonnidandel 2002-2003 Private practice, MT.

Delbert Black 2003-2004 Private practice, AZ.

Dennis Dey 2003-2004 Private practice, MD.

Isin Unal-Cevik 2003-2004 Academic practice — Turkey.

Yakov Vorobeychik 2003-2004 Academic practice, Penn State, PA

Liz Zhou 2003-2004 Private practice, CA.

Carlos Buxo 2004-2005 Univ. of Puerto Rico School of Medicine,
Director, Pain Center.

Rajiv Doshi 2004-2005 Private practice.

Jianguo Cheng 2004-2005 Academic practice, Cleveland Clinic.

Mei Hu 2004-2005 Private practice, TX,

Douglas Keene 2004-2005 Private practice, MA.

George Veech 2004-2005 Funded to study painful HIV neuropathy.
Cape Town, South Africa.

Grace Chang 2005-2006 Private practice, UCSF, CA

Ezekiel Fink 2005-2006 Mixed academic/private practice, CA.

Richard Field 2005-2006 Brigham and Woman’s Hospital.
Academic appointment.

Padma Gulur 2005-2006 Academic practice, MGH, MA.

Adrian Hamburger 2005-2006 Private practice, RI.

David Webber 2005-2006 Private practice, KY.

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Dragos Diaconescu 2006-2007 Academic practice, NEMC (Tufts), MA.
Christian Gonzalez 2006-2007 Academic practice, U. Mass.

Director, U Mass. Pain Center.
Timothy Lo 2006-2007 Private practice, CA.
Timothy Olson 2006-2007 Private practice, WI.
Hari Sundram 2006-2007 Medical technology investment banking.
Prabhav Tella 2006-2007 Academic practice, Univ. Texas, TX.
Christopher Gilligan 2007-2008 Academic practice, MGH, MA.
Omid Ghalambor 2007-2008 Private practice, IL.
Ping Jin 2007-2008 Private practice, MA.
John Keel 2007-2008 Academic practice, BIDMC, MA.
Ricardo Rivera 2007-2008 Presently in training.
Jai Sethee 2007-2008 Private practice, CA

Regional and national contributions

. Continuing involvement with the educational organization, National Initiative on Pain Control

(NIPC). I have been involved in the curriculum development of four educational modules: 1.
neuropathic pain update: new strategies to improve clinical outcomes, 2. lower back pain update:
clinical advances in managing chronic low back pain, 3. women with migraine: effective strategies for
positive outcomes, and 4. treatment of chronic pain in the elderly population. I attended consortium
meetings of the NIPC for the purpose of curriculum development in 2004 (Half Moon Bay, CA) and
in 2007 (Houston, TX).

. Continuing service reviewing manuscripts for academic journals (2004 onwards), I have acted as a

reviewer for the following journals: The Journal of Neurscience, The European Journal of
Neuroscience, and Pain Medicine.

. 4/22/2004. Presentation in Cleveland, OH on the use of opioids for chronic pain management. Given

on behalf of the National Initiative on Pain Control. Attended by approx. 60 physicians. Preparation
time approximately 12 hours.

9/13/2004. Presentation in Cleveland, OH on the pathophysiology and treatment of neuropathic pain.
Given on behalf of the National Initiative on Pain Control. Attended by approx. 45 physicians,
Preparation time approximately 12 hours.

. 6/10/2004. Presentation in Tampa, FL on the pathophysiology and treatment of low back pain.

Given on behalf of the National Initiative on Pain Control. Attended by approx. 50 physicians.
Preparation time approximately 12 hours,

6/21/2004. Presentation in Boston, MA on the pathophysiology and treatment of neuropathic pain.
Given on behalf of the National Initiative on Pain Control, Attended by approx. 30 physicians.
Preparation time for revising a previously presented lecture approximately 3 hours.

9/29/2004. Presentation in Providence, RI on the pathophysiology and treatment of neuropathic pain.

Given on behalf of the National Initiative on Pain Control. Attended by approx. 45 physicians.
Preparation time approximately 3 hours.

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10/20/2004. Presentation in Milwaukee, WI on the pathophysiology and treatment of neuropathic
pain. Given on behalf of the National Initiative on Pain Control. Attended by approx. 40 physicians.
Preparation time approximately 3 hours.

10/25/2006. Massachusetts General Hospital Palliative Grand Rounds on the Taxonomy of Pain.
Attended by approximately 40 at MGH and teleconferenced to 3 other hospitals. Preparation time
approximately 4 hours.

10/23/2007. Presentation in Boston, MA on the use of opioids for the treatment of chronic pain,
Given on behalf of the National Initiative on Pain Control. Attended by approx. 60 physicians.
Preparation time approximately 5 hours.

Presentation in Providence, RI on the treatment of chronic pain in the elderly. Given on behalf of the
National Initiative on Pain Control. Attended by a group of approx. 50 individuals including
physicians, nurses, and pharmacists. Preparation time approximately 8 hours.

11/15/2007. American Society of Regional Anesthesia and Pain Medicine (ASRA) semi-annual
meeting, Boca Raton, FL. Title of lecture: “Physiologic and pathologic pain hypersensitivity —
mechanisms and pharmacology.” Attended by approximately 400 physicians. Preparation time
approximately 8 hours.

11/16/2007. University of Miami School of Medicine, Division of Pain Medicine Grand Rounds.
Title of lecture: “Role of bone morphogenic protein signaling pathways in peripheral regeneration.”
Preparation time approximately 6 hours.

04/08/2008. Presentation in Rosyln, NY on the use of opioids for the treatment of chronic pain.
Given on behalf of the National Initiative on Pain Control. Attended by a group of approx. 50
individuals including physicians, nurses, and pharmacists. Preparation time approximately 3 hours.

05/13/2008. Presentation in Atlanta, GA on the use of opioids for the treatment of chronic pain.
Given on behalf of the National Initiative on Pain Control. Attended by a group of approx. 35
individuals including physicians, nurses, and pharmacists. Preparation time approximately 2 hours.

International contributions

4/06/2006. Presentation at Wuhan University of Science and Technology in Wuhan, Peoples
Republic of China on the Taxonomy and Mechanisms of Chronic Pain. Lecture was attended by
approximately 50 faculty (school of nursing and general college) and approximately 250 nursing and
undergraduate students. I also chaired a seminar for nursing faculty focused on pain medicine in the
hospital setting. Preparation time approximately 15 hours.

4/07/2006. Grand Rounds presentation at Wuhan University Medical College, Wuhan, Peoples
Republic of China on the Mechanisms and Treatment of neuropathic pain. Lecture attended by
approximately 250 individuals, a mixture of attending physicians, medical students, and graduate
students. Preparation time approximately 10 hours.

4/12/2006. Grand Rounds presentation at Peking Medical College, Beijing, Peoples Republic of
China on the Mechanisms of Neuropathic pain. Lecture attended by approximately 100 individuals, a
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mixture of attending physicians, medical students, and graduate students. Preparation time
approximately 10 hours.

03/05/2008. Presentation and development of didactic materials for the Vietnam National Palliative
Care Core Curriculum. This component of the core curriculum included a lecture presentation
“Taxonomy of Pain and Mechanisms of Hyperalgesia in Terminally Hl Patients.” National Cancer
Hospital, Hanoi, Vietnam, Lecture attended by 25 participants. 180 minute presentation. Preparation
time: 25 hours.

03/05/2008. Presentation and development of didactic materials for the Vietnam National Palliative
Care Core Curriculum. This component of the core curriculum included a lecture presentation
“Interventional Approaches to the Control of Cancer and Terminal Pain,” National Cancer Hospital,
Hanoi, Vietnam. Lecture attended by 20 participants. 75 minute presentation. Preparation time; 25
hours.

03/07/2008. Plenary lecture at the Annual Joint Meeting on Immunology Teaching and Research
(AJMITR), Hanoi, Vietnam. Title: “The Role of Immune responses in the Generation of Neuropathic
Pain.” Lecture attended by approximately 250 participants. 30 minute presentation. Preparation time
15 hours.

E. Report of clinical activities

My primary clinical practice is in the pain clinic associated with the Department of Anesthesia and
Critical Care. It involves two clinical days per week. In addition, there is an 8-week per year call
commitment that involves nighttime and weekend coverage of the inpatient pain service. All clinical
activities are located at the Massachusetts General Hospital and involve supervision and teaching of
fellows, residents, and medical students.

The patient load in the clinic varies from 15 to 25 patients per clinic day. When on call, rounds
typically involve 30 to 60 inpatients each weekend day. Therapy includes pharmacological,
interventional, and psychological approaches in both settings.

My relatively unique clinical contribution to the pain unit includes the introduction of current basic
science knowledge of the pathophysiology of chronic pain to the clinical setting. In this regard, I
encourage fellows and residents to use current scientific knowledge to think more critically about the
rational for their diagnoses and treatment decisions, and have introduced a year-long seminar series
focused on the fundamental neuroscience underlying normal and pathological pain processing.

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IL. Bibliography
Original articles

1 Moynihan JA, Koota D, Brenner G, Cohen N and Ader R. Repeated intraperitoneal injections of
saline attenuate the antibody response to a subsequent intraperitoneal injection of antigen. Brain,
Behavior, and Immunity. 1989;3:90-96,

2 Moynihan JA, Brenner G, Koota D, Breneman S, Cohen N and Ader R. The effects of handling on
immune function, spleen cell number, and lymphocyte subpopulations. Life Sciences.
1990;46:1937-44.

3 Brenner GJ, Cohen N. Ader R. and Moynihan JA. Increased pulmonary metastases and natural
killer cell activity in mice following handling. Life Sciences. 1990:47:1813-19.

4 Brenner GJ, Felten SY, Felten DL, Cohen N and Moynihan JA. Chemical sympathectomy is
associated with increased pulmonary metastases. Journal of Neuroimmunology. 1992;37:191-
202.

5 Madden KS, Moynihan JA, Brenner GJ, Felten SY, Felten DL and Livnat S. Sympathetic nervous
system modulation of the immune system. I]. Alterations in T and B cell proliferation and
differentiation in vitro following chemical sympathectomy. Journal of Neruoimmunology.
1994:49:77-87.

6 Brenner GJ, Cohen N and Moynihan JA. Similar immune response to nonlethal infection with
Herpes Simplex virus-! in sensitive (BALB/c) and resistant (C57BI/6) mice. Cellular
Immunology. 1994;157:510-24.

7 Brenner GJ and Moynihan JA. Stressor-induced alterations in immune response and viral
clearance following infection with Herpes Simplex virus-type 1 in BALB/c and C57BV/6 mice.
Brain, Behavior, and Immunity. 1997;11:9-23.

8 Ji RR, Baba H, Brenner GJ and Woolf CJ. Nociceptive specific activation of ERK in spinal
neurons contributes to pain hypersensitivity. Nature Neuroscience, 1999;2:1114-9,

9 Ji RR, Beford K, Brenner GJ, Billet S and Woolf CW. ERK activation in the spinal cord mediates
gene expression and persistent inflammatory pain. Journal of Neuroscience. 2002;2:478-485,

10 Brenner GJ, Ji RR, Shaffer S and Woolf CJ. Peripheral noxious stimulation induces
phosphorylation of the NMDA receptor NR1 subunit at the PCK-dependent site, serine-896, in
spinal cord dorsal horn neurons. European Journal of Neuroscience. 2004;20:375-384,

1! Kawasaki Y, Kohno T, Zhuang ZY, Brenner GJ, Wang H, Van Der Meer C, Befort K, Woolf CJ,
and Ji RR. Jontropic and metabotropic receptors, PKA, PKC and Src contribute to C-fiber-
induced ERK activation and cAMP response element-binding protein phosphorylation in dorsal
horn neurons, leading to central sensitization. Journal of Neuroscience. 2004; 24:8310-8321.

12 Xia Y, Sidis Y, Mukherjee A, Samad T, Brenner G, Woolf C, Lin HY, and Schneyer A.
Localization and action of Dragon (RGMb), a novel BMP co-receptor, throughout the
reproductive axis. Endocrinology. 2005; 146:3614-3621.

13 Wang H, Kohno T, Amaya F, Brenner GJ, Ito N, Allchorne A, Ji RR, and Woolf CJ. Bradykinin
produces pain hypersensitivity by potentiating spinal cord glutamatergic synaptic transmission.
Journal of Neuroscience. 2005; 25(35):7986-7992.

14 Agarwal N, Pacher P, Tegeder1, Amaya F, Constantin C, Brenner GJ, Rubino T, Michalski CW,
Marsicano G, Monory K, Mackie K, Marian C, BatkaiC, Parolaro D, Fischer MJ, Reeh P, Kunos
G, Kress M, Lutz B, WoolfCJ and Kuner R. Cannabinoids mediate analgesia largely via
peripheral type | cannabinoid receptors in nociceptors. Nature Neuroscience, 2007; 10(7):870-
879,

15 Griffin RS, Costigan M, Brenner GJ, Ma CHM, Scholz J, Moss A, Allchorne AJ, Stahl GL,
Woolf CJ. Induction of complement in microglia in the spinal cord results in CSa anaphylatoxin
release and pain hypersensitivity. Journal of Neuroscience. 2007;27(32);:8699-8708.

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Bean B, Woolf CJ and Samad TA. Nociceptors are interleukin-1 B sensors. Journal of
Neuroscience. In Press.

Proceedings of meetings

| Ji RR, Brenner GJ, Schmold R, Baba H and Woolf CJ, Phosphorylation of ERK and CREB in
nociceptive neurons following noxious stimulation. Proceedings of the 9"" World Pain Congress.
Progress in Pain Research and Management. 2000;16:191-8.

Reviews and chapters

| Moynihan JA, Brenner GJ, Ader R and Cohen N. The effects of handling adult mice on
immunologically-relevant processes. Annals of the New York Academy of Sciences.
1990;650:252-67.

2 Moynihan JA, Brenner GJ, Cocke R, Karp JD, Breneman SM, Dopp JM, Ader R, Cohen N, Grota
LJ and Felten SY. Stress-induced modulation of immune function in mice. In: Kiecolt-Glaser,
Ji and Glaser, R, editors. Handbook of Human Stress and Immunity. Orlando: Academic Press,
Inc; 1994, p. 1-21.

3 Moynihan JA, Kruszewska B, Brenner GJ and Cohen N. Neural, endocrine and immune system
interactions: relevance for health and disease. Advances in Experimental Medicine and Biology.
1998;438:541-549,

4 Brenner GJ. The pain system. In: Ballantyne, J, Fishman, S and Abdi, S, editors. The
Massachusetts General Hospital Handbook of Pain Management. Philadelphia: Lippincott,
Williams, and Wilkins; 2001. p. 8-13.

5 Brenner GJ, Mao J and Rosow C. The opioid receptors. In: Antognini, JF and Carstens, E,
editors. Contemporary Clinical Neurosciences: Neural Mechanisms of Anesthesia. Totowa:
Humana Press; 2003. p. 413-426.

6 Brenner GJ. The Neurophysiologic Basis of Pain. In: Ballantyne, J, editor. The Massachusetts
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neurons contributes to gene expression and persistent inflammatory pain. Presented at the
Society for Neuroscience Annual Meeting, San Diego, CA. 2001.

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subunit in dorsal horn neurons after noxious stimulation. Presented at the Society for
Neuroscience Annual Meeting, Orlando, FL. 2002.

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rat spinal cord and dorsal root ganglion neurons. Presented at the Society for Neuroscience
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(appendix cont.)

VIL. G, Brenner prior testimony:

1, Carmelo Cicala v. Georgetown (Civil Action No. 00ca002874-00). Washington, D.C.
G. Brenner’s deposition taken on 04/04/2001. Law firm for whom | worked: Williams &
Connolly, LLP

2. Michael B. O'Malley v. Hartt Transporation Systems. Massachusetts. G. Brenner’s
deposition taken on 12/21/2004. Law firm for whom I worked: Sinnott Law.

3. Jones v. Armashi. Florida. G. Brenner’s deposition taken on 08/09/2005. Law firm
for whom I worked: Williams Ristoff & Proper.

4. Edith Cabrerra v. Brian Johnson, Johnny White, etc. Texas. G. Brenner’s deposition
taken on 07/08/2008. Law firm for whom | worked: The Girards Law Firm.

IX. G. Brenner fee schedule: $600 per hour for all activities other then testimony under
oath. The latter will be billed at $900 per hour.

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(appendix cont.)

X. Comment on Plaintiffs’ list and categorization of ICD9 codes

I have been presented with a document labeled 1450-7, Attachment 1. Within this
document is a table of ICD9 codes categorized into the following groups:

Tp me aos

ON-Label All Other Indications
OFF-Label All Other Indications
OFF-Label Migraine

OFF-Label Bipolar

OFF-Label Pain Neuropathic
OFF-Label Pain Nociceptive
OFF-Label Psych

OFF-Label Pain Other

Each ICD9 code noted in the chart is placed into one of the above categories. I
understand that the ICD9 codes were used for billing of visits for patient who were
prescribed gabapentin at the time of those visits. Any assumption that an ICD9 code
used for billing purposes will allow categorization as to the intended clinical use of a
particular medication — in this case gabapentin — at the time of the visit would be
problematic:

1.

wo

There is a fair degree of imprecision in the use of ICD9 codes. For example, it is
not always possible to find an ICD9 code or codes that precisely match the
patient’s medical problem(s). Further, some of the ICD9 codes are so vague as to
be of limited meaning.

An individual patient frequently may have multiple ICD9 codes associated with a
visit, Thus, it may be unclear whether the prescription of a given medication has
any relevance to a particular ICD9 code. For example, a patient may have cardiac
disease and post-herpetic neuralgia. If they are prescribed gabapentin for post-
herpetic neuralgia, the medication may also be associated with an ICD9 code for
cardiac disease on the chart despite the irrelevance to that condition.

Some of the ICD9 codes in Plaintiffs’ list appear to be mischaracterized. For
example, neuromyelitis optica and a number of arthritic conditions are
categorized under nociceptive pain but might be better categorized as neuropathic
and inflammatory pain, respectively. Further, conditions such as ‘spondylosis of
spine unspecified’ (ICD9 7219) while categorized as nociceptive pain in the
document, can be associated with neuropathic pain secondary to compression of
spinal nerve roots.

Thus, without having comprehensive information regarding a patient it is frequently
impossible to categorize types of pain accurately by reference solely to IDC9,

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